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                             UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  In re:                                                   :   Chapter    11


  CAMPISI CONSTRUCTION, INC.,
                                                               Case No. 14—12458 (JKF)
                      Debtor.


  Campisi Construction, Inc.

                      Plaintiff,

             v.                                                Adv. Pro. No. 14—00616(JKF)
                                                           '

  ECI, LLC

                      Defendant,

             and

 Cornerstone Consulting Engineers &
 Architectural, Inc.

                     Defendant.

                  ORDER CLARIFYING (1) ORDER EN FORCING AND APPROVING
                       SETTLEMENT AGREEMENT, DATED APRIL 28, 2017
                     [ADV. DOC. NO. 50]; AND (II) ORDER VACATING ORDER
                            DAT D APRIL 28 2017 [ADV. DOC. NO. 791

             AND NOW, thiQQrkéay            0k iiﬁévif;            ,   2018, this Court seeking to clarify its

 prior orders entered in the above~captignZed adversary proceeding, speciﬁcally, the (I) Order

 Enforcing and Approving Settlement Agreement Dated April 28, 201 7 (the “Settlement Order”)1

 (Adv. Doc. No. 50] and (II) Order Vacating Order Dated April 28, 2017 (collectively, with the

 Settlement Order, the “Orders”)         [Adv Doc. No. 79],      and after proper notice and opportunity to

 be heard provided to        all creditors and parties in interest, and after hearing held and upon

 agreement        of all parties to the Settlement Agreement and Mutual Release Between                   the Chapter 7

 '
     Capitalized terms not otherwise deﬁned herein shall have the same meaning   as set   forth in the Settlement Order.
                                                           1




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  Trustee, ECI, LLC and Cornerstone Consulting Engineers                 & Architectural, Inc.   dated    April 26,

  2017 and this Court ﬁnding that clariﬁcation     of the Orders         is necessary and appropriate,      it is

  hereby

            ORDERED that the Settlement Order is hereby modiﬁed to eliminate and strike certain

  language from the injunction provisions set forth on pages two (2) and three (3)               of the   Settlement

  Order (the “Injunction Paragraph”), such that the Injunction Paragraph, as modiﬁed, shall

  provide   as   follows:

            ORDERED that this Court having found that the issuance              of an injunction    is necessary

  and appropriate to eﬂectuate the compromise and settlement set forth in the Settlement

 Agreement and approved by this Order, pursuant to section 105(a)                of the Bankruptcy Code,            any

 and all persons or entities who have, or will hold, any claim, interest or cause            of action against
  Cornerstone, its officers, directors, shareholders, employees or representatives based upon,

 arising out of or derived from, or attributable in any way to the Campisi State Litigation, ECI

 State Litigation, the State Litigation Settlement Agreement,            ECI Judgment, the Adversary

 Proceeding, the Santander Attachment, the Garnished Funds or the Garnishment Judgment, or

 any activities relating thereto, whenever or wherever arising or asserted, shall be, and hereby

 are, permanently stayed, restrained and enjoined ﬁom prosecuting, continuing 0r commencing

 any such claim, interest or cause   of action against Cornerstone, and/or its oﬁ‘icers,            directors,

 shareholders, employees and representatives.

           And it is further, ORDERED that, subject to the foregoing modiﬁcations to the

 Injunction Paragraph, the Settlement Order shall remain in full force and effect and constitutes                     a


 valid and enforceable Order    of this Court,   and   it   is further




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            ORDERED that within thirty (30) days from the entry of this Order, ECI shall withdraw

  its   Writ of Revival ﬁled in the ECI State Litigation, and it   is further




                                                TAN   K. FITZSIMON
                                                  NITED STATES B; N             UPTCY JUDGE
                                                  5
                                                  \f;




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